Case 2:Ol-cv-02478-BBD-dkv Document 231 Filed 05/11/05 Page 1 of 4 Page|D 314

 

 

Fll.§t‘) er db _, ¢;,.‘C_
UNITED STATES DISTRICT COURT c `
FoR THE WEsTERN DISTRICT oF TENNESSEE 96 Hf-'=‘:' l 1 hit 9= 25
WESTERN DIVISION
teresa §
ct.r_-;i>::-<,l 1¢_;;;, i“' ' `L"ri§@
) `='”\f 0 fiT-F“ `-“F§, ‘ u-:."H:s
Tl-IE CLARK CONSTRUCTION GROUP, INC., )
)
Plaintiff, )
)
vs. ) Civil Action No. 01-2478 D BR
)
EAGLE AMALGAMATED SERVICES, INC., )
ET AL., )
)
Defendants. )
)

 

ORDER GRANTING MOTION TO EXCEEED PAGE LIMITATI()N

 

For good cause shown, the Court hereby grants the motion of RLI Insurance Company to
exceed the page limitation in its memorandum in support of cross-motion for summary judgment

and in opposition to Plaintiff‘s motion for partial summary judgment

lT IS SO ORDERED this ff w day of W@?/ , 2005.

 

 

M JBS s??S\Bvl Th‘es document entered on the docket §heeti corppi&ance
2788162-000005 05/09/05 With mile 58 and/m 79(3) FF;CP gn §§ 1 § '@J £Cj/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 231 in
case 2:01-CV-02478 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

EsSEE

 

Barry L. HoWard

RUTH HOWARD TATE & SOWELL
150 Second Avenue, N.

Ste. 201

Nashville, TN 37219--178

J ames H. Stock

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 512

1\/1emphis7 TN 38120

W. Bruce Baird

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

J. Gregory Grisham

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 512

1\/1emphis7 TN 38120

Charles J. Gearhiser

GEARHISER PETERS LOCKABY & TALLANT PLLC
320 McCallie Avenue

Chattanooga, TN 37402

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Case 2:01-cv-02478-BBD-dkv Document 231 Filed 05/11/05 Page 3 of 4 Page|D 316

George T. LeWis

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Randall P. Mueller
CAREY OMALLEY WH[TAKER & MANSON PA

712 Oregon Avenue
Tampa7 FL 33606

Robert Y. GWin

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Warren D. McWhirter
MCWHIRTER WYATT & ELDER
73 Union Ave.

1\/1emphis7 TN 38103

Michael Evan Jaffe

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Steven M. Crawford

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Case 2:01-cv-O2478-BBD-dkv Document 231 Filed 05/11/05 Page 4 of 4 Page|D 317

M. Clark Spoden

FROST BROWN TODD LLC
424 Church St.

Ste. 1600

Nashville, TN 37219

Sam D. Elliott

GEARHISER PETERS LOCKABY & TALLANT PLLC
320 McCallie Avenue

Chattanooga, TN 37402

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Ann E. Georgehead

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Kenneth O. Cooper

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/1emphis7 TN 38103

David T. Dekker

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Timothy F. BroWn

ARENT FOX KINTNER PLOTKIN & KAHN
1050 Connecticut Ave., N.W.

Washington, DC 20036--533

William L. Bomar
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

